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#65013120LU as the result of a May 13, 2014 fire loss.

 

 

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AUG 16 2016 XC
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STATE OF NEW YOR.K
SUPREME COURT COUNTY 017 ALBANY

 

CHRISTOPHER R. GERARDI and
VICKIE A. GERARDI,

 

Plajntiffs,

-against~ SUI\/n\/ioNs’-wI`TH_NoT_ICE
AMICA MUTUAL INSURANCE coMPANY “*"~‘~“" ‘-1`1'~`1'?-'-:;:».»n-i-m.-l-._,M _,
P.O. Box 9690 ~_-L`dw_ *_ oz`qq_ no f
Providence, RI 02940-9690,

Defendant.

 

TO:' The above named Defendant:

You are hereby Summoned to appear in this action by sewing a notice of appearance
on plaintiffs within twenty days after service of this summons, exclusive of the date of service, or
within thirty days after service is complete if this summons is not personally delivered to you
within the State ofNew York.

Dated: May lO, 2016

Trial is desired in the County of Albany. The basis of venue designated above is that the
plaintiffs’ property which is insured by defendant is located in the County of Albany and
defendant conducts business in the County of Albany.

NOTICE: The nature of this action is breach of contract, bad faith, unfair claim settlement
practices and violation of New York State General Business Law §349 for failure of AMICA
Mutual Insurance Company to pay for damages incurred by plaintiffs and to plaintiffs’ premises
located at 229 Beaver Dam Road, Voorheesville, New York under homeowner’s policy

The relief sought is money damages in the amount of $1,100,000.00 with interest from May 13,
2014, attorney’s fees plus the costs of this action.

WARNING: Upon your failure to appear, judgment may be taken against you by default for the
sum of $1,100,000.00 with interest from May 13, 2014, together with attomey’s fees plus the
costs of this action. ' ~

 

 

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CHRIsToPHER R. GERARDI
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VICKIE A. GERARDI, Pro Se
358 Head 'I`ide Road
Whiteiield, ME 043 53
Ph: (207) 530-7009

 

 

 

 

